Case 5:08-cv-00008-TBR Document 80-3 Filed 02/01/11 Page 1 of 4 PagelD #: 322

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF KENTUCKY
AT PADUCAH
GERRY R. DICKSON
Plaintiff, : Case No. 5:08-CV-8-R

Vv.

NATIONAL MAINTENANCE &
REPAIR OF KENTUCKY, INC.

Defendant.
DECLARATION OF FREDRIC GERR, M.D. IN SUPPORT OF

DEFENDANT NATIONAL MAINTENANCE & REPAIR OF
KENTUCKY, INC.’S DAUBERT MOTION

COMES NOW Declarant, Fredric Gerr, M.D., and after being first duly cautioned and sworn,

deposes and states as follows:

1, My name is Fredric Gerr, MD. Lam over the age of 18 and of sound mind.

2. I am a medical doctor, with board certifications in internal medicine, as well as
occupational and environmental medicine. A true and accurate copy of my
curriculum vitae is attached hereto as Exhibit “1.”

3, Multiple myeloma is cancer of plasma cells. As a cancer of the blood system,
multiple myeloma is classified as one of many hematologic cancers. Luekemia and
lymphomas are also hematopoeitic cancers, although they are distinct malignancies
from multiple myeloma.

4. Medical science recognizes that multiple myeloma is an “idiopathic” cancer; that is,
medical science has not identified any known cause.

° Bataille R, Harousseau J-L. Multiple Myeloma. New England Journal of
Medicine. 336:1657-1664; 1997,

EXHIBIT

tabbies’

Case 5:08-cv-00008-TBR Document 80-3 Filed 02/01/11 Page 2 of 4 PagelD #: 323

° Alexander DD, Mink PJ, Adami H-O, Cole P, Mandel J., Oken MM,
Trichopoulos D. Multiple myeloma: A review of the epidemiological
literature. International Journal of Cancer, 120:40-61; 2007, (“The etiology [of
multiple myeloma] is unknown with no established lifestyle, occupational or
environmental risk factors”.)

° Kyle RA, Rajkumar SV. Epidemiology of the plasma cell disorders. Best
Practice and Research Clinical Haematology. 20:637-644; 2007. (“The cause
of multiple myeloma is unclear”.)

e De Roos et al., “Multiple Myeloma” (Chapter 47). In: Schottenfeld and
Fraumeni, Eds., Cancer Epidemiology and Prevention, Third Edition, Oxford
University Press, Oxford, UK, 2006.

° Brown LM, Baris D, Devesa SS. “Epidemiology of Multiple Myeloma” (Chapter
26). In: Wiernik PH, Goldman JM, Dutcher JP, Kyle RA, Eds. Neoplastic
Diseases of the Blood. Fourth Edition. Cambridge University Press,
Cambridge, UK., 2003.

e Seymour G, Wang M, Lin P, Weber D, " Multiple Myeloma and Other Plasma
Cell Dyscrasias" (Chapter 8). In: Kantarjian HM, Wolff RA, Koller CA: MD
Anderson Manual of Medical Oncology: McGraw-Hill Professional, 2006.

5. No study, review or medical textbook has concluded that exposure to diesel exhaust
is a known cause of multiple myeloma.

° Riedel DA, Pottern LM:. The Epidemiology of Multiple Myeloma.
Hematology/Oncology Clinics of North America. 6:225-247;1992, (After
examining the results of 185 studies on the epidemiology of multiple
myeloma, the authors concluded: “The role of occupational exposures on the
risk of multiple myeloma remains unclear.” (p. 232)).

° Alexander DD, Mink PJ, Adami H-O, Cole P, Mandel J., Oken MM,
Trichopoulos D. Multiple myeloma: A review of the epidemiological
literature. International Journal of Cancer. 120:40-61; 2007. (“Several cohort,
case-control, and proportionate mortality studies have found no significant
association of risk of multiple myeloma with exposure to diesel exhaust
and/or engine exhaust, or occupations with potential for such exposure.”)

« Wong O. Is there a causal relationship between exposure to diesel exhaust
and multiple myeloma? Toxicology Review 22:91-102; 2003. (After reviewing
20 studies examining the role of diesel exhaust in the causation of multiple
myeloma, “there is no scientific evidence for a causal relationship between

Page 2
Case 5:08-cv-00008-TBR Document 80-3 Filed 02/01/11 Page 3 of 4 PagelD #: 324

diesel exhaust and multiple myeloma.” (Page 101)).

6. The EPA, U.S. National Toxicology Program, and the International Agency for
Research on Cancer— major environmental and public health agencies — have studied
the health effects of diesel exhaust and do not associate diesel exhaust with multiple
myeloma,

7. Association and causation are distinct epidemiologic concepts. An association is a
necessary, but not sufficient, condition for causation. However, association alone
does not prove causation. Therefore, finding an association between an agent and a
disease, while also finding there to be no known cause for the same disease, is not
internally inconsistent.

8. An association between an exposure and an adverse health condition occurs when the
adverse health condition is more common or more severe among those who have
experienced the exposure than it is among those who have not experienced the
exposure. Association is a necessary condition for causation, but it is not, itself,
proof of causation.

9. For example, if we were to segregate people who are heavy drinkers of whiskey from
people who drink no whiskey, we'would observe (at least in the United States) that
smoking is more common among the heavy drinkers than among the non-drinkers.
This would lead to the observation of an association between whiskey drinking and
lung cancer. The association is real (or true), but it is not causal. The association
between whiskey drinking and lung cancer would be due to the fact that the whiskey

drinkers were more likely to be smokers, not because whiskey, itself, causes lung

Page 3
Case 5:08-cv-00008-TBR Document 80-3 Filed 02/01/11 Page 4 of 4 PagelD #: 325

cancer. In this example, one way to test whether the association between whiskey
drinking and lung cancer is causal is to, in some way, prevent whiskey drinking, but
make no change to smoking. If smoking continued in the absence of whiskey
drinking, no reduction in lung cancer would be observed. The converse is not true.

If smoking were eliminated, but whiskey drinking continued without change, then
nearly all lung cancer would vanish. The whiskey was associated with lung cancer,
but was not causing it. The smoking was also associated with lung cancer and was
causing it.

10. Non-casual associations are seen in the medical literature as a result of statistical
chance, as well as confounding - mixing of exposures. This explains why, in
epidemiological science, no one study is considered proof of causation. Rather,
consistency across the whole body of literature is considered necessary for an
association to be considered causal, rather than non-casual.

11. ‘In his expert report, Myron Mehlman, Ph.D. includes Table 5 identifying seven
studies from Infante [2006]. Six of the seven studies included in Table 5 fail to show

a statistically significant increase in the risk of multiple myeloma.

IDECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE

AND CORRECT.
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Fredric Gerr, M.D.

Date: Tanuary 3 2011 .

Page 4
